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NOT FOR PUBLICATION

                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
____________________________________
                                     :
UNITED STATES OF AMERICA,            :
                                     :
                  Plaintiff,         :
                                     :
      v.                             :       Case No. 3:18-cr-00757-BRM
                                    :
STEVEN BRADLEY MELL,                 :
                                    :                OPINION
                  Defendant.        :
____________________________________:

MARTINOTTI, DISTRICT JUDGE

       Before this Court is Defendant Steven Bradley Mell’s (“Mell”) Emergency Motion for

Reduction of Sentence (ECF No. 63), Motion for Compassionate Release (ECF No. 78), and

Supplemental Motion for Reduction of Sentence (ECF No. 96) under the First Step Act, 18 U.S.C.

§ 3582(c)(1)(A). Plaintiff, the United States of America (the “Government”), opposed Mell’s

Motion for Compassionate Release. (ECF No. 80.) Mell replied in support of his Motion for

Compassionate Release. (ECF No. 84.) The Government opposed Mell’s Supplemental Motion

for Reduction of Sentence. (ECF No. 97.) Mell replied in support of his Supplemental Motion for

Reduction of Sentence. (ECF No. 99.) The Government responded in opposition to Mell’s

Supplemental Motion for Reduction of Sentence. (ECF No. 104.) Mell filed a Brief in further

support of his Supplemental Motion for Reduction of Sentence (ECF No. 105), and responded to

the Government’s response in opposition to Mell’s Supplemental Motion for Reduction of

Sentence (ECF Nos. 106, 108, 109). Having reviewed the parties’ submissions filed in connection

with the motions and having heard oral argument on December 29, 2020 (ECF No. 109), for the




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reasons set forth below and for good cause having been shown, Mell’s motions for compassionate

release and reduction of sentence are DENIED. 1

         I.      BACKGROUND

         On June 17, 2019, Mell pleaded guilty to an information charging him (1) receipt of child

pornography in violation of 18 U.S.C. § 2252A(a)(2), and (2) travel with intent to engage in illicit

sexual conduct in violation of 18 U.S.C. § 2423(b), for his conducts occurring between May 2017

and December 2017. (ECF No. 43 at 1.) On June 18, 2019, the Court sentenced Mell to 84 months

of imprisonment, followed by five years of supervised release. (ECF No. 45 at 2–3.) Mell has been

incarcerated at Allenwood Low Federal Correctional Facility (“Allenwood”) located in

Allenwood, Pennsylvania, since his self-surrender to the Bureau of Prisons (“BOP”) on July 9,

2019, and is scheduled for release on May 7, 2025. (ECF No. 80 at 4; ECF No. 96-3 at 8.) By the

time of his motions, Mims had served about one year of imprisonment. (ECF No. 80 at 15; ECF

No. 96-3 at 31.) Mell is now 55 years old and has no criminal history. (ECF No. 96-3 at 30; ECF

No. 105 at 6.)

         Mell claims to suffer from




              Since his incarceration, the BOP discontinued this medication regimen. (ECF No. 96-

3 at 12.) In addition, Mell claims to suffer from




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 Mell filed a habeas corpus petition, which was later withdrawn. See Mell v. United States of
America, Case No. 3:20-cv-02277.

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       Based on his medical conditions, Mell filed an Emergency Motion for Reduction of

Sentence (ECF No. 63) on May 1, 2020, and a Motion for Compassionate Release (ECF No. 78)

on June 30, 2020. On July 9, 2020, the Government opposed Mell’s Motion for Compassionate

Release. (ECF No. 80.) On July 10, 2020, Mell filed a letter with expert evaluations that addressed

his risk of re-offense. (ECF No. 81.) On July 21, 2020, Mell replied to the Government’s

opposition to his Motion for Compassionate Release. (ECF No. 84.) On August 14, 2020, Mell

filed a letter to supplement his reply to the Government’s opposition to his Motion for

Compassionate Release. (ECF No. 91.) On October 1, 2020, Mell filed a Supplemental Motion for

Reduction of Sentence. (ECF No. 96.) On October 14, 2020, the Government opposed Mell’s

Supplemental Motion for Reduction of Sentence. (ECF No. 97.) On October 26, 2020, Mell replied

in support of his Supplemental Motion for Reduction of Sentence. (ECF No. 99.) On November

30, 2020 and December 9, 2020, Mell filed two letters in support of his Supplemental Motion for

Reduction of Sentence. (ECF Nos. 100, 101.) On December 29, 2020, the parties attended an oral

argument before the Court. (ECF No. 103) On January 15, 2021, the Government responded in

opposition to Mell’s Supplemental Motion for Reduction of Sentence (ECF No. 104), and Mell

filed a Brief in further support of his Supplemental Motion for Reduction of Sentence (ECF No.

105). On January 19, 2021, Mell responded to the Government’s response in opposition to Mell’s

Supplemental Motion for Reduction of Sentence. (ECF No. 106.)

       II.     LEGAL STANDARD

       A district court may modify a sentence of imprisonment only in “limited circumstances.”

See Dillon v. United States, 560 U.S. 817, 825, 130 S. Ct. 2683, 177 L. Ed. 2d 271 (2010). One

such circumstance is a compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A). The statute,

as amended by the First Step Act of 2018, allows a motion for such relief to be brought by either



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the Director of the BOP or by the defendant himself after the defendant has exhausted his or her

administrative remedies. 18 U.S.C. § 3582(c)(1)(A)(i); United States v. Raia, 954 F.3d 594, 595

(3d Cir. 2020). A court may reduce the defendant’s sentence if the Court finds the following: (1)

there are “extraordinary and compelling reasons” which warrant a reduction; (2) the reduction

would be “consistent with any applicable policy statements issued by the Sentencing Commission;”

and (3) the applicable sentencing factors under 18 U.S.C. § 3553(a) indicate that reducing the

defendant’s sentence would be appropriate. 18 U.S.C. § 3582(c)(1)(A).

       “[T]he statute itself does not define the key terms ‘extraordinary and compelling,’

apparently providing courts with some flexibility and discretion to consider the unique

circumstances of a motion for compassionate release.” United States v. Batista, No. 18-415, 2020

U.S. Dist. LEXIS 139068, at *4 (D.N.J. Aug. 5, 2020) (citing United States v. Rodriguez, 451 F.

Supp. 3d 392, 397 (E.D. Pa. 2020)). The Sentencing Commission has defined the term “under the

previous version of § 3582(c)(1)(A),” but it has not “updated its Policy Statement since the passage

of the First Step Act.” United States v. Alexander, No. 19-32, 2020 U.S. Dist. LEXIS 85609, at *6

(D.N.J. May 15, 2020) (citing Rodriguez, 451 F. Supp. 3d at 397). Nevertheless, “the present

Policy Statement provides useful guidance for district courts in identifying extraordinary and

compelling reasons for a defendant’s eligibility for compassionate release.” United States v.

Gwaltney, No. 3:17-00381, 2020 U.S. Dist. LEXIS 186893, at *4–5 (D.N.J. Oct. 8, 2020) (citations

omitted).

       “The Sentencing Commission’s Policy Statement provides that a defendant may

demonstrate extraordinary and compelling reasons for compassionate release based on: (1) the

medical condition of the defendant; (2) the age of the defendant; (3) the defendant’s family

circumstances; or (4) for ‘other reasons.’” United States v. Gwaltney, 2020 U.S. Dist. LEXIS



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186893, at *5 (D.N.J. Oct. 8, 2020) (citing U.S.S.G. § 1B1.13 cmt. n.1). Relevant here is “the

medical condition of the defendant,” which constitutes an extraordinary and compelling reason

when:

               (i) The defendant is suffering from a terminal illness . . . ; [or]
               (ii) The defendant is—
               (I) suffering from a serious physical or medical condition,
               (II) suffering from a serious functional or cognitive impairment, or
               (III) experiencing deteriorating physical or mental health because of
               the aging process,
               that substantially diminishes the ability of the defendant to provide
               self-care within the environment of a correctional facility and from
               which he or she is not expected to recover.

U.S.S.G. § 1B1.13 cmt. n.1(A). The policy statement “allows a court to grant compassionate

release or a sentence reduction where: (i) extraordinary and compelling reasons warrant a reduction

in a defendant’s sentence; (ii) the defendant is not a danger to the safety of others or to the

community; and (iii) release from custody complies with the section 3553(a) factors, to the extent

applicable.” United States v. Williams, No. 17-0379, 2021 U.S. Dist. LEXIS 1261, at *3 (D.N.J.

Jan. 4, 2021) (citing U.S.S.G. § 1B1.13).

        III.   DECISION

        As a threshold matter, the parties agreed in the oral argument that Mell satisfied the

statutory exhaustion requirement. The Court, then, turns to substance of Mell’s motions.

               A.      The Basis to Find Extraordinary and Compelling Reasons Is Not
                       Strong

        “The ‘extraordinary and compelling reasons’ inquiry logically has two components: (a)

identification of a medical condition that renders the defendant particularly vulnerable to serious

consequences if infected with COVID-19; and (b) the likelihood of COVID-19 infection, with

particular reference to conditions in the institution in which the defendant is incarcerated.” United

States v. Moore, No. 19-101, 2020 U.S. Dist. LEXIS 132220 at *7 (D.N.J. July 27, 2020). The


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following analysis will focus on the two components.

                          1.      Mell’s Medical Conditions Alone Do               Not    Constitute
                                  Extraordinary and Compelling Reasons

          Mell claims to suffer from a number of medical conditions that the Centers for Disease

Control and Prevention (“CDC”) lists as increasing the risk of serious illness from COVID-19,

including

(ECF No. 96-3 at 16.) Mell claims his                        is terminal. (Id. at 35.) Mell points out

the United States Department of Justice (“DOJ”) adopts the position that an inmate with one of the

risk factors identified by the CDC should be considered as having an extraordinary and compelling

reason warranting a sentence reduction. (Id. at 14.) Mell insists his medical conditions constitute

such extraordinary and compelling reasons. (ECF No. 99 at 8.) The Government argues Mell’s

medical conditions are not extraordinary and compelling reasons, because they merely might place

Mell at an increased risk for severe illness due to COVID-19. (ECF No. 97 at 2.) The Government

emphasizes Mell’s                                                 . (ECF No. 80 at 12.) The Court

agrees.

          First, Mell’s        is not a “terminal illness” under the Sentencing Commission’s policy

statement. A “terminal illness” that constitutes an extraordinary and compelling reason means “a

serious and advanced illness with an end of life trajectory,” such as “metastatic solid-tumor cancer,

amyotrophic lateral sclerosis (ALS), end-stage organ disease, and advanced dementia.” U.S.S.G.

§ 1B1.13 cmt. n.1(A)(i). Here, Mell has not made such a showing. Also, Mell’s            is currently

stable (ECF No. 104 at 2–3), which Mell does not dispute.

          Second, as the following analysis will illustrate, Mell’s medical conditions do not

“substantially diminishes the ability of the defendant to provide self-care within the environment




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of a correctional facility and from which he or she is not expected to recover.” U.S.S.G. § 1B1.13

cmt. n.1(A)(ii).

       In “determining whether extraordinary and compelling reasons exist in COVID-19

compassionate release cases,” courts generally defer to the CDC’s list of underlying medical

conditions that place “people at increased risk of severe illness from COVID-19.” United States v.

Henderson, No. 15-0329, 2020 U.S. Dist. LEXIS 156060, at *8–9 (D.N.J. Aug. 26, 2020). Courts

in this District recognize the CDC’s distinction between the “groups of individuals who ‘are at

increased risk of severe illness’ from COVID-19 and other groups who ‘might be at an increased

risk of increased illness from COVID-19’” in the extraordinary and compelling reason inquiry.

United States v. Johnson, No. 19-0787, 2021 U.S. Dist. LEXIS 9824, at *6 (D.N.J. Jan. 19, 2021)

(citing People With Certain Medical Conditions, CDC, https://www.cdc.gov/coronavirus/2019-

ncov/need-extra-precautions/people-with-medical-conditions.html (last visited Jan. 18, 2021))

(emphasis added); see also United States v. Amos, No. 16-0292, 2020 U.S. Dist. LEXIS 224070,

at *6 (D.N.J. Nov. 30, 2020) (“[S]ignificantly, the [CDC] has placed moderate or severe asthma

on its list of medical conditions that might place people of any age at increased risk for severe

illness from COVID-19, as opposed to the mild or uncomplicated form. This ranking demonstrates

[asthma not in a moderate or severe form] has not even been put on the list of underlying conditions

that might cause, as opposed to those that cause, serious illness as a co-morbidity factor.”). The

medical conditions that merely “might” place individuals at an increased risk generally do not

support finding extraordinary and compelling reasons. United States v. Ogunremi, No. 18-586,

2021 U.S. Dist. LEXIS 4969, at *6 (D.N.J. Jan. 8, 2021) (finding the defendant’s obesity and

hypertension, which are “medically supportable” and “might” be a risk factor for COVID-19, “are

unlikely to amount to ‘compelling and extraordinary reasons’ that warrant release”); United States



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v. Huntington, No. 19-133, 2020 U.S. Dist. LEXIS 242610, at *6–7 (D.N.J. Dec. 28, 2020)

(declining to consider asthma, which “‘might’ present an increased risk of severe illness from the

virus, as distinguished from conditions that when individuals have them, they ‘are’ at increased

risk of serious illness from the virus” constitutes an extraordinary and compelling reason); United

States v. Coleman, 2020 U.S. Dist. LEXIS 189069, at *13–14 (E.D. Pa. Oct. 9, 2020) (finding

hypertension, which “might be at an increased risk” for COVID-19, “is not generally classified as

a factor warranting compassionate release”) (citations omitted).

       The DOJ’s internal guidance regarding compassionate release does not change the analysis.

Indeed, “on May 18, 2020, the DOJ issued internal guidance which directs that the Government

concede that Defendants who have certain CDC risk factors can establish that ‘extraordinary and

compelling reasons’ warrant the reduction in sentence,” including asthma (moderate to severe),

liver disease (including cirrhosis), immune deficiencies, and serious heart conditions (including

coronary artery disease and pulmonary hypertension). United States v. Beard, 2020 U.S. Dist.

LEXIS 246841, at *6–7 (N.D. Ga. June 25, 2020). However, the Court does not discern, and Mell

does not present, any legal authority holding the DOJ guidance binds this Court’s finding of

extraordinary and compelling reasons. On the contrary, the Court “is loath to make assumptions

about the Government’s position in any particular case,” including those based on the DOJ’s

“apparently nationwide policy” that lists medical conditions constituting extraordinary and

compelling reasons, United States v. Edwards, 2020 U.S. Dist. LEXIS 127869, at *20 (M.D. Tenn.

June 2, 2020), and “is not bound by the DOJ’s interpretation of §1B1.13 cmt. (1)(A).” United

States v. White, 2020 U.S. Dist. LEXIS 122576, at *6 (D. Md. July 10, 2020). Moreover:

               On July 28, 2020, the DOJ issued additional guidance on two
               different types of COVID-19 risk factors recognized by the CDC:
               (1) those that definitively entail a greater risk of severe illness; and
               (2) those that might increase the risk of severe illness,” and directed


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                          2.     The Situation at Allenwood Poses a Significant Risk of COVID-
                                 19 Infection

        Mell maintains the current situation at Allenwood poses a high risk of COVID-19 infection,

as 360 men are housed with Mell in dormitory conditions with no separation, no social distancing,

and little opportunities for handwashing. (ECF No. 78 at 6.) Mell claims he and other at-risk

inmates at Allenwood have not received COVID-19 vaccinations, which have been mostly

allocated to the staff at Allenwood. (ECF No. 108.) Mell contends Allenwood likely understates

the severity of COVID-19 infection within its facility, because only a limited proportion of inmates

have been tested for COVID-19. (ECF No. 96-3 at 17–18.) Mell states the infection rate within the

BOP is much higher than the national average and, if released, he would be residing at a much

safer place, i.e., an isolated 30-acre farm in New Jersey. (Id. at 20.) Mell also complains the BOP

discontinued his          treatment by         (Id. at 39.) The Government counters the BOP has

taken significant measures to protect the health of its inmates. (ECF No. 80 at 6.) With the COVID-

19 Action Plan implemented and repeatedly revised, the BOP imposed social distancing measures

and issued face masks within its facilities, and severely limited the movement of personnel among

its facilities. (Id. at 6–7.)

        The Government claims the BOP has taken adequate steps to monitor its inmate population

for symptoms and quarantine the inmates tested positive for COVID-19, and designated selected

inmates for home confinement. (Id. at 7.) Allenwood states its inmates have received 370 of the

700 two-dose COVID-19 vaccines that it has received in the first allotment of vaccines. (Email

correspondence from Jonathan Kerr, dated February 2, 2021.) Allenwood asserts the doses will be

provided to inmates based on priority of need in accordance with CDC guidelines, which indicates

Mell is not at an increased risk of severe COVID-19 illness; as a result, Mell currently has not been

vaccinated, but is expected be covered when the next allotment of vaccine arrives. Id. As for Mell’s


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individual situation, the Government contends Mell’s health is appropriately monitored and

managed by the BOP, pointing out Mell receives routine medical examinations and laboratory

tests. (ECF No. 97 at 3.) The Government states Mell’s recent                      visit showed his

     was stable, with no evidence of                                      . (ECF No. 104 at 2–3.)

The Government claims Mell is now receiving                                          , based on the

opinions of three medical specialists (Dr. Burns as a gastroenterologist and two primary care

providers) responsible for Mell’s care at the BOP. (Id.) The Government stresses these medical

specialists are familiar with Mell’s treatment history, including the use of              , and are

continuing to assess the appropriateness of                  . (Id. at 2.) The Court disagrees.

       In addition to the inmate’s medical conditions, “a court may consider the conditions at the

defendant’s facility” “to determine whether compassionate release is appropriate amid the

COVID-19 crisis.” United States v. Desciscio, No. 88-cr-00239, 2020 U.S. Dist. LEXIS 121335,

at *16 (D.N.J. July 9, 2020) (citing United States v. Catanzarite, No 18-0362, 2020 U.S. Dist.

LEXIS 94478, 2020 WL 2786927, at *5 (D.N.J. May 29, 2020)); see also United States v.

Huntington, No. 19-133, 2020 U.S. Dist. LEXIS 242610, at *7 (D.N.J. Dec. 28, 2020) (ruling “the

Court also considers the likelihood of the defendant contracting COVID-19 at the institution in

which he is incarcerated” for the extraordinary and compelling reason inquiry). “[C]ourts have

denied relief to inmates with” medical conditions presenting an increased risk for severe illness or

complications from COVID-19 “if BOP is meeting their medical needs and has reasonable

measures in place to prevent the spread of the virus.” United States v. Adams, No. 3:00-cr-00697,

2020 U.S. Dist. LEXIS 190133 at *14 (D.N.J. Oct. 14, 2020) (citations omitted); see also United

States v. Gore, No. 10-250, 2020 U.S. Dist. LEXIS 122109, at *12–14 (D.N.J. July 13, 2020)

(finding the defendant’s obesity, asthma, and other factors did not constitute “extraordinary and



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compelling reasons that would justify his compassionate release,” when the facility was providing

adequate care).

         On February 9, 2021, Allenwood had one active inmate case and zero active staff case. 5

This does not suggest a significant risk of COVID-19 infection at Allenwood. See United States v.

Mason, 2020 U.S. Dist. LEXIS 206974, at *3 (D.N.J. Nov. 5, 2020) (“FCI Schuylkill has zero

confirmed active cases of Covid-19 among inmates, but three confirmed active cases among staff

at the time of this writing, suggesting the facility has been able to successfully prevent the spread

of the virus among the inmate population.”); United States v. Tatar, No. 07-459, 2020 U.S. Dist.

LEXIS 205659, at *5 (D.N.J. Nov. 2, 2020) (finding three active inmate cases at the facility, which

held a total of 1,070 inmates, were insufficient to show extraordinary and compelling reasons for

release); United States v. Zaffa, No. 14-050-4, 2020 U.S. Dist. LEXIS 115308 at *7 (D.N.J. June

29, 2020) (recognizing the effectiveness of the preventive steps taken at MDC Brooklyn, which

had 11 confirmed active cases); c.f. United States v. Urzua, No. 16-cr-312, 2020 U.S. Dist. LEXIS

240532, at *2 (D.N.J. Dec. 22, 2020) (finding “Fort Dix was experiencing an outbreak of Covid-

19 among inmates and staff” when there were “17 confirmed active cases among inmates and 18

confirmed active cases among staff”); United States v. Graham, No. 06-cr-478, 2020 U.S. Dist.

LEXIS 203939, at *6 (D.N.J. Nov. 2, 2020) (finding the risk of COVID-19 transmission was not

insignificant and supported a finding of compelling and extraordinary reasons, when the prison

facility has at least one active inmate case and 16 staff member active cases). However, the number

of actual active cases at Allenwood could be more than one, because not all the inmates have been

tested for COVID-19. As of February 9, 2021, among the 884 inmates housed at Allenwood 6, 576


5
    BOP, COVID-19 Update (last visited Feb. 9, 2021), https://www.bop.gov/coronavirus/.
6
 BOP, FCI Allenwood Low (last visited Feb. 9, 2021),
https://www.bop.gov/locations/institutions/alf/.

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(or 65.2% of the total inmate population) completed a COVID-19 test. 7 Further, Allenwood

reported additional active cases not too long ago. On January 22, 2021, Allenwood had two active

inmate cases and sixteen active staff cases. 8 Therefore, the risk of COVID-19 infection at

Allenwood still remains, though it is possible that the conditions at Allenwood have improved

recently.

         As for Mell’s personal well-being, the Court finds Mell has received adequate medical care

at Allenwood. Though Mell is not taking                  nothing in the record shows            is the

only effective treatment of Mell’s      or his current       treatment is ineffective. Instead, Mell’s

       is not significantly deteriorating. Moreover, the medical specialists at Allenwood are still

considering           , meaning Mell could receive             in the future. Mell does not challenge

the adequacy of the treatments of his other medical conditions at Allenwood. Because of the

adequate medical treatments Mell currently receives, and because his age and medical conditions

have not caused an increased risk with COVID-19, it is reasonable for Allenwood to prioritize

other more vulnerable inmates over Mell in receiving the COVID-19 vaccination, and consider

Mell for vaccination when the second allotment of COVID-19 vaccines arrives.

         In summary, Mell’s medical conditions might increase the risk with COVID-19 and are

adequately treated at Allenwood. However, Mell has three such medical conditions. Also, the

current situation at Allenwood does not pose a serious risk of COVID-19 infection, but there were

more active COVID-19 cases just recently. On balance, the factual basis to find extraordinary and




7
    BOP, COVID-19 Update (last visited Feb. 9, 2021), https://www.bop.gov/coronavirus/.
8
    BOP, COVID-19 Update (last visited Jan. 22, 2021), https://www.bop.gov/coronavirus/.

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compelling reasons arguably exists, but it is weak. As a result, the Court must consider other

relevant factors before making a final decision on compassionate release.

               B.      Mell Remains a Danger to the Minor Victim and the Community

       The Government argues Mell presents a danger to the safety of his minor victim. (ECF No.

80 at 14.) The Government provides a list of improper conducts Mell allegedly undertook towards

the minor victim and her family when the criminal investigations of Mell were ongoing, including

showing up at the minor victim’s job; confronting the minor victim at flight lessons; verbal threats;

sending text messages to the minor victim who wanted no more contact with Mell; flying an

airplane less than 50 feet above the minor victim’s home; driving into the family’s driveway late

at night; and driving at a high speed behind the minor victim’s car and causing the minor victim

to pull off the road in tears. (Id. at 14–15.) The Government alleges Mell, during his pre-trial

release, made an unauthorized visit to a pharmacy on the same road where the minor victim was

employed, and suggests Mell knew the minor victim worked at that location. (Id. at 15.) The

Government further alleges Mell, while within the confines of Allenwood, continued to harass the

minor victim by (1) sending letters and faxes to her attorney and (2) publicly filing a letter on the

docket that identified two minor victims, and disclosed personal and intimate details about them

and their family. (ECF No. 104 at 3.) The Government contends Mell, if released, would pose a

danger to the community, and refers to the minor victim’s January 2021 letter that stated

                                                             . (Id. at 4.)

       Mell argues nearly all the above alleged events occurred prior to Mell’s arrest. (ECF No.

105 at 1.) Mell points out, even after presented with Mell’s unauthorized visit to a pharmacy, Judge

Waldor declined to remand Mell, consented to his self-surrender, and granted a one-week

extension of the surrender date. (Id. at 1–2; ECF No. 96-3 at 23.) Mell explains he visited the



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pharmacy, which he had used for over ten years before knowing the minor victim, to pick up his

medicines at a drive-through window, without getting out of his car and without knowing the minor

victim worked               about one mile away. (ECF No. 84 at 4.) Mell argues he did not harass

the minor victim at her work, because he visited the           only to deliver a lawsuit to the store

owner on a dispute over Mell’s daughter’s puppy. (Id.) Mell claims he did not harass the minor

victim’s family by flying over their house, because he could not have flown dangerously low over

the house because of the flying protocols and the surroundings of the house. (Id. at 2–3.) Mell

insists he did not chase the minor victim on a road, for which the probation department investigated

only to find no merit to the claim, and the Bedminster police, with two police cars behind Mell

during the alleged incident, reported nothing occurred. (Id. at 4.) Mell explains he mentioned the

minor victim’s name in the letter filed in the docket because he thought letter would be held as

confidential under the protective order, which allowed him to use the minor victim’s full name.

(ECF No. 105 at 2.)

       Mell lists the opinions of several medical professionals that suggested he was not a danger

to the victim and the community: (1) Dr. Barber found Mell’s risk of recidivism was in the “below

average” range and presented a low risk of harm to himself or others if released on bail; (2) Dr.

Watter found, as recorded in the pre-sentencing report (“PSR”), Mell had a low risk to re-offend

and was not a sex offender per se; (3) Dr. Krueger determined, as recorded in the PSR, Mell to be

in the below average risk category for sexual recidivism, and the risk could be best managed and

reduced through Mell’s continuation in the community. (ECF No. 96-3 at 24–26.) Mell stresses,

at Allenwood, he has not incurred a single disciplinary infraction and has taught other inmates

financial literacy and, according to the BOP’s own risk assessment tool, he has a “minimum” risk,

with a level of -12. (Id. at 28.) Mell also stresses he has no criminal history. (Id. at 30.) Mell



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maintains any risk that he might pose can be militated by the conditions of release, such as ordering

Mell to move in with his mother who lives in South Carolina. (Id.; ECF No. 105 at 3 n.1.) Mell

suggests the Government’s argument of his danger is irreconcilable with the Government’s own

actions, including not seeking a bail upon Mell’s change of plea hearing; consenting twice to

modifying the conditions of Mell’s bail to permit travel in the community; consented to Mell’s

self-surrender and extension thereto; and consenting to Mell’s residing in the same neighborhood

with the minor victim between December 2018 and July 2019.

       The Court finds Mell remains a danger to the minor victim and the community.

       “[T]o evaluate dangerousness pursuant to 18 U.S.C. § 3142(g),” a court may consider (1)

“the nature and circumstances of the offense,” (2) “the weight of the evidence against the person,”

(3) “the history and characteristics of the person,” and (4) “the nature and seriousness of the danger

to any person or the community that would be posed by the person’s release.” United States v.

Cantatore, No. 06-cr-478, 2020 U.S. Dist. LEXIS 89949, at *8 (D.N.J. Nov. 2, 2020) (citing 18

U.S.C. § 3142(g)). The concern that the defendant “may pose a danger to public safety if

released . . . is sufficient to deny compassionate release.” United States v. Gideon, No. 13-429,

2020 U.S. Dist. LEXIS 235208, at *8 (D.N.J. Dec. 14, 2020) (citing United States v. Santiago,

2020 U.S. Dist. LEXIS 124869, 2020 WL 4015245, at *4 (E.D. Pa. July 15, 2020)); see also United

States v. Mayfield, No. 07-801, 2020 U.S. Dist. LEXIS 116391, at *7 (D.N.J. July 2, 2020)

(“Guideline Section 1B1.13(2) provides that compassionate release is appropriate only where ‘the

defendant is not a danger to the safety of any other person or to the community, as provided in 18

U.S.C. § 3142(g).’”).

       Without deciding on all the factual disputes over Mell’s actions before and after conviction,

the undisputed evidence in the record is sufficient to demonstrate Mell remains a danger to the



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minor victim and the community. First, the nature and circumstances of Mell’s offenses, for which

he pleaded guilty, were egregious. For over half a year, Mell engaged in sexual acts with the minor

victim on various occasions,



     . (ECF No. 80 at 2.) Mell requested and received multiple images and videos of child

pornography                                                          . (Id. at 3.) Mell used several

methods of subterfuge to conceal his sexual exploitation of the minor victim. (Id.) Mell

continuously approached the minor victim even after knowing he was under criminal investigation

since December 2017. (ECF No. 52 at 12–13.) At present, Mell has only served less than two years

of his seven-year sentence 9; his early release would substantially increase the danger posed to the

minor victim and the community. C.f. United States v. Graham, No. 06-cr-478, 2020 U.S. Dist.

LEXIS 203939, at *9 (D.N.J. Nov. 2, 2020) (“[B]ecause Defendant’s release date is only

approximately two months away regardless of whether the Court grants Defendant’s motion, it is

not clear to the Court that a reduced sentence, with supervised release, would result in any

substantial increase in the danger posed to any person or community by Defendant.”); United

States v. McCalla, No. 11-452, 2020 U.S. Dist. LEXIS 116399, at *11 (D.N.J. July 2, 2020)

(“Defendant has served more than 75% of his sentence, which demonstrates a decreased risk of

recidivism.”). Second, the Court does not observe any sign of remorse from Mell’s own letters,

which do not even include an apology to the minor victim and her family. (ECF Nos. 82, 83, 84,

91.) A similar lack of remorse was seen in Mell’s courtroom behaviors, which included “a smirk



9
  The fact that Mell has served only a small portion of his sentence in itself disfavors granting him
compassionate release. A court may consider “the amount of time remaining to be served in the
inmate’s sentence” in deciding whether to grant compassionate release. United States v.
Pawlowski, 967 F.3d 327, 330 (3d Cir. 2020) (denying a motion for compassionate release filed
by an inmate who served less than two years of his 15-year sentence).

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once or twice,” “rolling of the eyes,” and “a deep breath,” while the minor victim and her mother

were testifying before Mell and the Court. (ECF No. 55 at 57.) Third, Mell once violated a

condition of his 14-month pre-trial release, which required him to stay at his “residence under 24

hour lock-down except for medical necessities and court appearances, or other activities

specifically approved by the court.” (ECF No. 16 at 2.) Mell does not dispute his visit to a

pharmacy during his bail was “unauthorized.” (ECF No. 96-3 at 23.) Particularly, the visit was not

“specifically approved by the court,” or made out of Mell’s “medical necessities,” since Mell could

have asked someone else to pick up his medicines. Therefore, Mell violated this condition of pre-

trial release, regardless of whether the minor victim was working at a location close to the

pharmacy. This calls into doubt Mell’s ability to adhere to the conditions of his supervised release

after an early release from Allenwood. Fourth, Mell continued to harass the minor victim while he

was incarcerated at Allenwood, by publicly filing a letter (ECF No. 84) that mentioned the minor

victim by name as well as the details about the minor victim and her family. Mell’s explanation

that he thought the letter would be kept confidential is unavailing, because Mell was represented

by legal counsel, with whom Mell could have consulted before the pro se filing.

       Mell cites several expert opinions for the proposition that he is not a danger, but this does

not change the analysis. First, the expert opinions are outweighed by the aforementioned actions

of Mell that demonstrate his dangerousness. Actions speak louder than words. Second, the Court

sees no necessity of an “expert’s scientific, technical, or other specialized knowledge” in

determining Mell’s dangerousness, which is not associated with Mell’s medical conditions. 10 Fed.



10
  The Court notes an instance where an expert opinion was considered for the dangerousness
inquiry. That is, a court-appointed independent expert assisted “in determining whether [the
defendant] presented a continuing danger to himself or the community that would preclude
compassionate release.” United States v. Ball, 2020 U.S. Dist. LEXIS 140863, at *11 (C.D. Cal.
Aug. 5, 2020). The expert opinion in Ball focused on the defendant’s potential “present psychiatric

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R. Evid. 702(a). Accordingly, the Court declines to admit these expert opinions for this

dangerousness inquiry. Trinidad v. Moore, 2016 U.S. Dist. LEXIS 127868, at *12 (M.D. Ala. Sept.

20, 2016) (“To understand where admissible expert opinion in the form of a factual inference

crosses the line to inadmissible legal conclusion, courts look to see if the jury is capable of drawing

the conclusion itself or if technical assistance is needed.”) (citations omitted); Sarras v. United

States, 2013 U.S. Dist. LEXIS 207617, at *6 (M.D. Fla. Oct. 28, 2013) (“[T]he expert testimony

was inadmissible because no specialized knowledge was needed to compare the charged images

with the photographs taken of Petitioner while in custody.”); United States v. Reulet, 2015 U.S.

Dist. LEXIS 161540, at *22 (D. Kan. Dec. 2, 2015) (citing United States v. Garcia, 635 F.3d 472,

477 (10th Cir. 2011)) (“If the jury can understand the evidence without needing the expert’s

specialized knowledge, the expert testimony is inadmissible.”); Cappuccio v. Prime Capital

Funding, LLC, 2008 U.S. Dist. LEXIS 113386, at *3 n.1 (E.D. Pa. Sept. 16, 2008) (“Defendant’s

proffered expert testimony is unnecessary to assist the jury in reaching a verdict and it is therefore

irrelevant and inadmissible under Rule 702.”).

       In conclusion, the Court finds Mell, if released, would pose a danger to the minor victim

and the community. As the result, the Court denies Mell’s motions for compassionate release and

reduction of sentence.

               C.        The Court Has No Authority to Transfer Mell to Home Confinement

       Mell proposes the Court should convert a part of his sentence into a period of strict home

confinement, so that Mell would still serve his entire sentence, while simultaneously being able to




and physical condition[s],” such as “bipolar disorder” and “severe depressive symptoms,” to
evaluate the defendant’s “suicide risk” and “probability of future drug abuse and criminal behavior.”
Id. at *12. Here, the Court never appointed an expert for this dangerousness inquiry, and Mell’s
medical conditions are irrelevant to his danger to the victim and the community.

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seek medical care from providers who are familiar with his medical issues and equipped to treat

him. (ECF No. 96-3 at 38.) Mell also suggests the Court may include a period of home confinement

as a condition of his supervised release. (ECF No. 99 at 15.) The Government maintains the Court

should deny Mell’s request for a release to home confinement because such designation decisions

are committed solely to the BOP’s discretion. (ECF No. 97 at 6.) The Government argues, once a

sentence is imposed, the BOP is solely responsible for determining an inmate’s place of

incarceration. (ECF No. 80 at 16.) The Court agrees.

         A district court has no “authority to modify the sentence” by a “remedy of transfer to home

confinement,” and “has no general authority to dictate the place of confinement as such,” because

“the BOP has the first and last word” to decide on an application for transfer to home confinement.

United States v. Dunich-Kolb, No. 14-150, 2020 U.S. Dist. LEXIS 208120, at *29 (D.N.J. Nov. 5,

2020) (citations omitted); see also United States v. Williams, No. 17-0379, 2021 U.S. Dist. LEXIS

1261, at *21 (D.N.J. Jan. 4, 2021) (denying the defendant’s “request for the Court to ‘allow him

to serve the remainder of his sentence under home confinement’” because “the Court has no

authority to grant such relief”); United States v. Calabretta, No. 12-131, 2020 U.S. Dist. LEXIS

190132, at *11 (D.N.J. Oct. 14, 2020) (“The CARES Act 11 does not empower a district court to

transfer an inmate to home confinement; rather, that decision rests solely within the discretion of

the BOP.”) (citations omitted). A federal prisoner has no “constitutional right to service of sentence

in a particular place.” Dunich-Kolb, 2020 U.S. Dist. LEXIS 208120, at *29 (citing Sandin v.

Conner, 515 U.S. 472, 478, 115 S. Ct. 2293, 132 L.Ed.2d 418 (1995)). “Though the Court has no

authority to modify the conditions of a Defendant’s imprisonment by ordering a transfer to home

confinement, the Court, having already granted Defendant’s motion for a reduction in his sentence,



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     The Coronavirus Aid, Relief, and Economic Security Act

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may impose conditions upon Defendant’s supervised release, including a condition of home

confinement.” United States v. Graham, No. 06-cr-478, 2020 U.S. Dist. LEXIS 203939, at *10–

11 (D.N.J. Nov. 2, 2020) (citations omitted); see also United States v. McCalla, No. 11-452, 2020

U.S. Dist. LEXIS 116399, at *14 (D.N.J. July 2, 2020) (approving the defendant’s “proposed

release plan, under which he has agreed to be placed on home confinement” when the defendant’s

“request for compassionate relief is granted”). Here, since Mell’s motions for compassionate

release and reduction of sentence are denied, the Court is unable to grant Mell an alternative

remedy of home confinement.

IV.    CONCLUSION

       For the reasons set forth above, Mell’s motions for compassionate release and reduction of

sentence are DENIED with prejudice. An appropriate order follows.



Date: Febuary 9, 2021                               /s/ Brian R. Martinotti
                                                    HON. BRIAN R. MARTINOTTI
                                                    UNITED STATES DISTRICT JUDGE




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